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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

IN RE:                                             IN PROCEEDINGS UNDER CHAPTER 7

BRENDA LOUISE VANDEVER                                         CASE NO: 18-08190

       DEBTOR                                              JUDGE: JAMES M. CARR

                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                       AND ABANDONMENT OF PROPERTY

       Comes now HSBC Bank USA, National Association as Trustee for Merill Lynch

Mortgage Investors, Inc., Mortgage Pass-Through Certificates, MANA Series 2007-OAR5, a

secured Creditor in the above captioned proceeding, by counsel, and respectfully moves the court

to terminate the automatic stay imposed by 11 U.S.C. § 362 to enable Creditor to foreclose its

mortgage and otherwise exercise its contractual and state law rights as to the following real

property: 3940 North Grant Avenue, Indianapolis, IN 46226 and for an order directing the trustee

to abandon, or otherwise declare as abandoned from the estate, 3940 North Grant Avenue,

Indianapolis, IN 46226 and as basis therefore states as follows:
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        1.      On October 26, 2018, the above named Debtor, Brenda Louise Vandever, filed a

petition pursuant to Chapter 7 of the Bankruptcy Code.

        2.      HSBC Bank USA, National Association as Trustee for Merill Lynch Mortgage

Investors, Inc., Mortgage Pass-Through Certificates, MANA Series 2007-OAR5 is the holder of

a secured claim with an approximate outstanding balance of $121,224.95 with interest according

to the note as of November 16, 2018, plus late charges and attorney fees. Said claim is secured

by the real property located at 3940 North Grant Avenue, Indianapolis, IN 46226, and more

particularly described in the mortgage, a copy of which is attached hereto.

        3.      The above described mortgage was given to secure a Note dated July 12, 2007, by

the Debtor to Countrywide Bank, FSB, in the principal sum of $106,000.00. A copy of the

above described Note is attached hereto.

        4.      The Debtor’s last payment was applied to the June 1, 2018 payment. Debtor is

due for the July 1, 2018 payment and all subsequent payments, in the amount of $5,101.87 (1

payments at $964.93 per month, 1 payments at $987.30 per month and 3 payments at $1,049.88

per month), plus late charges, court costs and attorney's fees, along with additional fees and

advances.

        5.      The estimated value of the property is approximately $123,100.00, based on the

Marion County assessor's valuation. Claimant has reason to believe that there is little or no

equity in the subject real estate. Per Debtor’s schedules there are no other encumbrances on the

subject real estate.

        6.      The failure of the Debtor to make payments combined with the lack of equity in

the subject real estate allows no protection of the interest of HSBC Bank USA, National
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Association as Trustee for Merill Lynch Mortgage Investors, Inc., Mortgage Pass-Through

Certificates, MANA Series 2007-OAR5, within the meaning of § 362 of the Bankruptcy Code.

       WHEREFORE, HSBC Bank USA, National Association as Trustee for Merill Lynch

Mortgage Investors, Inc., Mortgage Pass-Through Certificates, MANA Series 2007-OAR5

respectfully requests that this Court

       1. terminate the stay as to 3940 North Grant Avenue, Indianapolis, IN 46226 and HSBC

           Bank USA, National Association as Trustee for Merill Lynch Mortgage Investors,

           Inc., Mortgage Pass-Through Certificates, MANA Series 2007-OAR5, so that secured

           creditor may take all steps necessary to foreclose its mortgage, to sell the property in

           accordance with state law, to apply the net proceeds to this obligation, and to

           otherwise exercise its contractual and state law rights.

       2. Secured creditor additionally requests this Court waive the fourteen (14) day stay as

           provided for by Rule 4001 (a), and

       3. For all other relief that is just and appropriate.

                                                      Respectfully submitted,
                                                      /s/ Chris E. Manolis
                                                      Chris E. Manolis (OH-0076197)
                                                      Shapiro, Van Ess, Phillips & Barragate, LLP
                                                      Attorney for Creditor
                                                      4805 Montgomery Road, Suite 320
                                                      Norwood, OH 45212
                                                      Phone: (513) 396-8100
                                                      Fax: (847) 627-8805
                                                      Email: cmanolis@logs.com

                                       ADDENDUM
Nationstar Mortgage LLC d/b/a Mr. Cooper services the loan on the Property referenced
in this Motion. In the event the automatic stay in this case is modified, this case dismisses,
and/or the Debtor obtains a discharge and a foreclosure action is commenced on the
mortgaged property, the foreclosure will be conducted in the name of Movant. Movant,
directly or through an agent, has possession of the promissory note. Movant is the original
mortgagee or beneficiary or the assignee of the Mortgage.
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                                 CERTIFICATE OF SERVICE

        Certifier certifies that it has served a copy of this Notice by ordinary U.S. mail or served
electronically through the Court’s ECF System on this 21st day of November, 2018, to the
following entities and on the entities listed on the Court’s Creditor Matrix:

Brenda Louise Vandever
3940 North Grant Avenue
Indianapolis, IN 46226

Timothy Richard Fox
151 North Delaware Street
Suite 1106, IN 46024

John J. Petr
111 Monument Circle, Suite 900
700 Guaranty Building
Indianapolis, IN 46204-5175

U.S. Trustee
101 W. Ohio Street
Suite 1000
Indianapolis, IN 46204


                                                      /s/ Chris E. Manolis
                                                      Chris E. Manolis (OH-0076197)
                                                      Shapiro, Van Ess, Phillips & Barragate, LLP
                                                      Attorney for Creditor
                                                      4805 Montgomery Road, Suite 320
                                                      Norwood, OH 45212
                                                      Phone: (513) 396-8100
                                                      Fax: (847) 627-8805
                                                      Email: cmanolis@logs.com
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             Case
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             Case
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             Case
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             Case
(Page 6 of 52)      18-08190-JMC-7   Doc 15   Filed 11/21/18   EOD 11/21/18 14:46:59   Pg 9 of 39
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Label Matrix forCase
                 local 18-08190-JMC-7
                       noticing         Doc(p)BANK
                                             15 OFFiled 11/21/18
                                                   AMERICA                  EOD 11/21/18 14:46:59
                                                                                          Barclays Bank Pg  35 of 39
                                                                                                        Delaware
0756-1                                     PO BOX 982238                                     Attn: Correspondence
Case 18-08190-JMC-7                        EL PASO TX 79998-2238                             Po Box 8801
Southern District of Indiana                                                                 Wilmington, DE 19899-8801
Indianapolis
Wed Nov 21 14:02:18 EST 2018
Capital One / Carson                       Citibank/Goodyear                                 Citibank/Sears
Attn: Bankruptcy                           Citibank Corp/Centralized Bankruptcy              Citibank Corp/Centralized Bankruptcy
Po Box 30285                               Po Box 790034                                     Po Box 790034
Salt Lake City, UT 84130-0285              St Louis, MO 63179-0034                           St Louis, MO 63179-0034


Citibank/The Home Depot                    Comenity Bank/Carsons                             Comenity Bank/Lane Bryant
Attn: Recovery/Centralized Bankruptcy      Attn: Bankruptcy Dept                             Attn: Bankruptcy
Po Box 790034                              Po Box 182125                                     Po Box 182125
St Louis, MO 63179-0034                    Columbus, OH 43218-2125                           Columbus, OH 43218-2125


Comenity Bank/Pier 1                       Discover Financial                                First National Bank
Attn: Bankruptcy                           Po Box 3025                                       Attn: Tina
Po Box 182125                              New Albany, OH 43054-3025                         1620 Dodge St Mailstop 4440
Columbus, OH 43218-2125                                                                      Omaha, NE 68197-0002


Indiana Attorney General                   Indiana Department of Revenue                     Indiana Workforce Development
Government Center                          Bankruptcy Section --- MS108                      Benefit Payment Control
302 West Washington Street, 5th Floor      100 N. Senate Avenue, Rm N248                     10 North Senate Ave., Room SE 107
Indianapolis, IN 46204-4701                Indianapolis, IN 46204-2217                       Indianapolis, IN 46204-2201


Internal Revenue Service                   Kohls/Capital One                                 Mr. Cooper
PO Box 7346                                Kohls Credit                                      Attn: Bankruptcy
Philadelphia, PA 19101-7346                Po Box 3120                                       8950 Cypress Waters Blvd
                                           Milwaukee, WI 53201-3120                          Coppell, TX 75019-4620


Nissan Motor Acceptanc                     Syncb/hhgreg                                      Synchrony Bank/ JC Penneys
Po Box 660360                              Attn: Bankruptcy                                  Attn: Bankruptcy Dept
Dallas, TX 75266-0360                      Po Box 965060                                     Po Box 965060
                                           Orlando, FL 32896-5060                            Orlando, FL 32896-5060


Target                                     U.S. Trustee                                      (p)US BANK
Attn: Payment Disputes                     Office of U.S. Trustee                            PO BOX 5229
Mailstop 2201, PO Box 26907                101 W. Ohio St.. Ste. 1000                        CINCINNATI OH 45201-5229
Tempe, AZ 85285-6907                       Indianapolis, IN 46204-1982


United States Attorney                     United States Attorney General                    Visa Dept Store National Bank/Macy’s
10 West Market Street                      U.S. Department of Justice                        Attn: Bankruptcy
Suite 2100                                 950 Pennsylvania Avenue, NW                       Po Box 8053
Indianapolis, IN 46204-1986                Washington, DC 20530-0001                         Mason, OH 45040-8053


Brenda Louise Vandever                     John J. Petr                                      Timothy Richard Fox
3940 North Grant Ave                       Office of John J. Petr                            Redman Ludwig, PC
Indianapolis, IN 46226-4440                111 Monument Cir Ste 900                          151 N Delaware Street
                                           Indianapolis, IN 46204-5125                       Suite 1106
                                                                                             Indianapolis, IN 46204-2573
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                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank Of America                                       US Bank/RMS CC                                       End of Label Matrix
Attn: Bankruptcy                                      Attn: Bankruptcy                                     Mailable recipients   29
Po Box 982238                                         Po Box 5229                                          Bypassed recipients    0
El Paso, TX 79998                                     Cincinnati, OH 45201                                 Total                 29
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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

IN RE:                                            IN PROCEEDINGS UNDER CHAPTER 7

BRENDA LOUISE VANDEVER                                        CASE NO: 18-08190

       DEBTOR                                             JUDGE: JAMES M. CARR

         NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY AND
               ABANDONMENT AND OPPORTUNITY TO OBJECT

       PLEASE TAKE NOTICE that parties in interest in the above captioned case shall have

(fourteen (14) days from the date this Notice is served) to file an Objection to the Motion for

Relief from Automatic Stay and Abandonment of Property filed herein on behalf of HSBC Bank

USA, National Association as Trustee for Merill Lynch Mortgage Investors, Inc., Mortgage

Pass-Through Certificates, MANA Series 2007-OAR5, regarding real property located at 3940

North Grant Avenue, Indianapolis, IN 46226, and more particularly described as:
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        The Motion states that the Debtor(s) are delinquent on the monthly mortgage payments.

Objections must be filed in writing in accordance with Local Rule S.D. Ind. B-9013-1 with the

Clerk’s Office and served on the attorney for the moving party at the addresses listed below. If

no objection is timely filed, an order may be entered by the Court for the relief requested.

        If you do not want the court to grant the motion, then on or before you or your attorney
must:

       1.       File a written objection to the application, which should explain the reasons why
you object, to:
                                       U.S. Bankruptcy Court
                                        116 U.S. Courthouse
                                         46 East Ohio Street
                                       Indianapolis, IN 46204

If you mail your objection, you must mail it early enough so that it will be received by the date it
is due.

        2.     You must also mail a copy of your response to:

John J. Petr                      Timothy Richard Fox               Chris E. Manolis
111 Monument Circle, Suite 900    151 North Delaware Street         Shapiro, Van Ess, Phillips &
700 Guaranty Building             Suite 1106, IN 46024              Barragate, LLP
Indianapolis, IN 46204-5175                                         4805 Montgomery Road
                                                                    Suite 320
                                                                    Norwood, OH 45212

                                                      Respectfully submitted,

                                                      /s/ Chris E. Manolis
                                                      Chris E. Manolis (OH-0076197)
                                                      Shapiro, Van Ess, Phillips & Barragate, LLP
                                                      Attorney for Creditor
                                                      4805 Montgomery Road, Suite 320
                                                      Norwood, OH 45212
                                                      Phone: (513) 396-8100
                                                      Fax: (847) 627-8805
                                                      Email: cmanolis@logs.com
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                                 CERTIFICATE OF SERVICE

        Certifier certifies that it has served a copy of this Notice by ordinary U.S. mail or served
electronically through the Court’s ECF System on this 21st day of November, 2018, to the
following entities and on the entities listed on the Court’s Creditor Matrix:

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3940 North Grant Avenue
Indianapolis, IN 46226

Timothy Richard Fox
151 North Delaware Street
Suite 1106, IN 46024

John J. Petr
111 Monument Circle, Suite 900
700 Guaranty Building
Indianapolis, IN 46204-5175

U.S. Trustee
101 W. Ohio Street
Suite 1000
Indianapolis, IN 46204


                                                      /s/ Chris E. Manolis
                                                      Chris E. Manolis (OH-0076197)
                                                      Shapiro, Van Ess, Phillips & Barragate, LLP
                                                      Attorney for Creditor
                                                      4805 Montgomery Road, Suite 320
                                                      Norwood, OH 45212
                                                      Phone: (513) 396-8100
                                                      Fax: (847) 627-8805
                                                      Email: cmanolis@logs.com
